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          Of Attorneys for Plaintiff



                              IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF OREGON
                                       PORTLAND DIVISION

   SODEXO AMERICA, LLC,                                Case No.:

          Plaintiff,                                   COMPLAINT

                  v.

   CONCORDIA UNIVERSITY

          Defendant.

                                             COMPLAINT

          Plaintiff SODEXO AMERICA, LLC (“Sodexo”), by and through its undersigned

   attorneys, brings this action against Defendant CONCORDIA UNIVERSITY (“Concordia”) for

   breach of contract, and states as its Complaint as follows:

                                         Nature of the Action

          1.      This case arises out of Concordia’s clear breach of its contractual obligation to

   reimburse and pay Sodexo the unamortized portion of its more than half a million dollars of

   investment upon the termination of the contract between them. Sodexo brings this action for

   breach of contract. In addition to recovering the more than $550,000 Concordia owes to it,

   Sodexo seeks to recover its attorneys’ fees and costs incurred in preparing, filing, and

   prosecuting this action.


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                                                 Parties

          2.      Plaintiff Sodexo America, LLC is a Delaware limited liability company. Its sole

   member is a New York corporation with a principal place of business in Maryland.

          3.      Defendant Concordia University is an Oregon nonprofit corporation.

                                          Jurisdiction and Venue

          3.      This Court has jurisdiction over all causes of action asserted in this Complaint

   under 28 U.S.C. § 1332 because complete diversity of citizenship exists between the parties and

   the matter in controversy exceeds the sum of $75,000.00, exclusive of interest and costs.

          4.      Venue is proper in this Court because a substantial part of the actions, failures,

   events and/or omissions giving rise to the claims occurred in this judicial District.

                                                    Facts

          5.      On or about February 1, 2015, Concordia and Sodexo entered a management

   agreement for Sodexo to manage and operate food services for Concordia’s students, faculty,

   staff, employees, and invited guests at its campus in Portland, Oregon (as amended, the

   “Management Agreement”).

          6.      Under the Management Agreement, Sodexo provided resident dining, retail sales,

   and catering services, and made amortized investment contributions to Concordia to be used

   toward the renovation of cafes.

          7.      The Management Agreement provided that, pursuant to a prior management

   agreement between the parties superseded by the Management Agreement, Sodexo had invested

   $825,000.00 for the renovation of Hagen Café and Café 1905 (the “Cafes”) on or about

   September 1, 2013 (the “Investment”). The Management Agreement required Sodexo to

   amortize its Investment on a straight-line basis over twenty (20) years commencing September


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   2013 (MA, ¶ 8.3.C).

           8.      The Management Agreement obligated Concordia to reimburse Sodexo the

   unamortized portion of the Investment within five (5) days after receipt of a notice of termination

   under the Management Agreement (MA, ¶ 8.3.C).

           9.      The Management Agreement further obligated Concordia to pay interest on any

   amount not paid when due at the rate of one and one-half percent (1.5%) each month (MA, ¶

   8.1).

           10.     The Management Agreement also required Concordia to reimburse Sodexo for all

   costs and expenses, including but not limited to, court costs, attorney’s fees and collection

   service fees, incurred by Sodexo in collecting from Concordia any amount not paid when due

   (MA, ¶ 8.1).

           11.     Although the initial term of the Management Agreement was twenty-one (21)

   years commencing on July 1, 2014 and ending June 30, 2035, the parties contracted for the right

   to terminate the Management Agreement at any time upon ninety (90) days written notice to the

   other party (MA, ¶ 3.1.C).

           12.     On February 28, 2020, Sodexo provided written notice to Concordia that it was

   terminating the Management Agreement effective May 31, 2020 (the “Termination Notice”). By

   that date, Concordia had stated that it planned to close in April 2020 and that it did not intend to

   honor the remaining term of the Management Agreement.

           13.     In the Termination Notice, Sodexo demanded the unamortized balance of its

   Investment, plus other amounts due and owing.

           14.     Concordia failed to reimburse Sodexo the unamortized portion of Sodexo’s

   Investment within five days after receipt of the Termination Notice.

           15.     Sodexo’s last day of services under the Management Agreement was April 24,


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   2020.

           16.        Sodexo made an additional written demand to Concordia for the unamortized

      portion of its Investment on August 18, 2020.

           17.        Concordia has failed to reimburse Sodexo the unamortized portion of Sodexo’s

   Investment.

           18.        The unamortized portion of the Investment is approximately $552,296.02.

           19.        Concordia also has refused to pay Sodexo interest on this amount not paid when

   due of approximately $38,403.48 (as of October 2020).

                                                  COUNT I
                                             (Breach of Contract)

           20.        Sodexo adopts and incorporates Paragraphs 1 through 19 above as if set forth

   fully herein.

           21.        The Management Agreement between Sodexo and Concordia constituted a

   written, express contract.

           22.        Sodexo performed under the Management Agreement.

           22.        The Management Agreement obligated Concordia to reimburse Sodexo for the

   unamortized balance of the Investment, plus interest.

           23.        Concordia breached the Management Agreement by failing to reimburse Sodexo

   the unamortized balance of the Investment, plus interest.

           24.        As a direct and proximate result of Concordia’s breach of the Management

   Agreement, Sodexo has incurred monetary damages exceeding $590,699.50, which such

   damages will continue to accrue during the pendency of this action, in an exact amount to be

   proved at trial.




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                                                   COUNT II
                                           (Fees, Costs, and Expenses)

          25.      Sodexo adopts and incorporates Paragraphs 1 through 24 above as if set forth

   fully herein.

          26.      In attempting to enforce the terms of the Management Agreement, Sodexo has

   incurred—and will continue to incur during the pendency of this action—attorneys’ fees, court

   costs, and other litigation expenses.

          27.      Pursuant to Section 8.1 of the Management Agreement, Sodexo is entitled to

   recover its attorneys’ fees, court costs, collection service fees, and related costs and expenses in

   collecting from Concordia any amount not paid when due.

          WHEREFORE, Plaintiff Sodexo Operations, LLC prays:

          (a) that the Court exercise jurisdiction over this action;

          (b) that the Court award Sodexo compensatory damages in an amount to be proved at

   trial, plus pre-judgment and post-judgment interest thereon;

          (c) that the Court award Sodexo its reasonable attorneys’ fees and costs incurred in

   preparing, filing, and prosecuting this action; and

          (d) that the Court award Sodexo such further relief as the Court deems just and proper.

          Respectfully submitted,

           DATED: October 30, 2020.

                                                   HODGKINSON STREET MEPHAM, LLC

                                                   /s/ David S. Mepham
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